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✎AO 187 (Rev. 7/87) Exhibit and Witness List

                                     UNITED STATES DISTRICT COURT
                                                    WESTERN DISTRICT OF VIRGINIA
               Tony A. Messer, et al,
                          V                                         EXHIBIT AND WITNESS LIST
     Bristol Compressors International, LLC
                                                                    Case Number: 1:18CV40
PRESIDING JUDGE                           PLAINTIFF'S ATTORNEY                                 DEFENDANT'S ATTORNEY



TRIAL DATES                               COURT REPORTER                                       COURTROOM DEPUTY



   PLF           DEF         DATE
                                           MARKED     ADMITTED DESCRIPTION AND EXHIBITS* AND WITNESSES
   NO            NO         OFFERED
     1                      01/11/2024         y           y        CV of Thomas M. Hicok, CPA, CVA, MAFF                              Hicok

     2                      01/11/2024         y           y        Document titled 'Steps taken in calculating Severance Pay'         Hicok

     8                      01/11/2024         y           y        Computation of Severance Pay Group of Four Employees               Hicok

                                                                    Summary of WARN Act Covered Employees Group of Four
     9                      01/11/2024         y           y                                                                           Hicok
                                                                    Employees

     5                      01/11/2024         y           y        Computation of Severance Pay Subclass 1                            Hicok

     6                      01/11/2024         y           y        Computation of Severance Pay Subclass 2                            Hicok

     7                      01/11/2024         y           y        Computation of Severance Pay Subclass 3                            Hicok




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.                       Page 1 of 1
